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UNITED STATES DISTRICT COURT                                                          2/3/2021
SOUTHERN DISTRICT OF NEW YORK


 The Innocence Project, Inc.,

                        Plaintiff,
                                                                                   19-cv-1574 (AJN)
                –v–
                                                                                       ORDER
 National Museum of Health and Medicine, et al.,

                        Defendants.



ALISON J. NATHAN, District Judge:

       On January 29, 2021, the Court’s Pro Se Intake Unit received and docketed a letter,

formerly Dkt. No. 78, disclosing the identity of an individual that the Court had previously

ordered be protected. See Dkt. No. 57. The Court has removed the docket entry, and the letter

will be filed under seal. If the individual who filed the letter formerly docketed at Dkt. No. 78

wishes to file any further letters in this case, they should be prominently marked “To Be Filed

Under Seal.”

       The Plaintiff shall serve a copy of this Order on the individual who filed the letter

formerly docketed at Dkt. No. 78 at the email address identified in that letter.


       SO ORDERED.


Dated: February 3, 2021                            __________________________________
       New York, New York                                   ALISON J. NATHAN
                                                          United States District Judge
